              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
            CRIMINAL CASE NO. 1:04-cr-00117-MR-DLH-5


UNITED STATES OF AMERICA        )
                                )
                                )
         vs.                    )                      ORDER
                                )
                                )
WILLIAM QUENTIN CLONTZ.         )
_______________________________ )


      THIS MATTER is before the Court upon the Defendant’s motion for

early termination of supervised release. [Doc. 364].

      In order to terminate the Defendant’s term of supervised release, the

Court must be “satisfied that such action is warranted by the conduct of the

defendant released and the interest of justice.” 18 U.S.C. § 3583(e)(1).

The Defendant’s supervising probation officer reports that the Defendant

has adjusted well to supervision. While the Defendant’s conduct while on

supervision is commendable, his term of supervised release is not

scheduled to expire until February 2016. Given that the Defendant has

completed little over half of his supervised release term, the Court declines

to exercise its discretion to terminate the Defendant’s term of supervised

release at this time.



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     Accordingly, IT IS, THEREFORE, ORDERED that the Defendant’s

request for the early termination of his supervised release [Doc. 2] is

DENIED WITHOUT PREJUDICE.              The Defendant’s term of supervised

release shall continue as originally sentenced.

     The Clerk of Court is directed to provide copies of this Order to

counsel for the Government, the United States Probation Office for the

Western District of North Carolina, and United States Probation Officer Ben

Salley in Columbia, South Carolina.

     IT IS SO ORDERED.                Signed: May 20, 2014




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